 

o em SI DBD UH BP WY YN

wb NO NY NY WN WN NY NY NO YY FP FP FP FP FF FF SS PP SS
o Nt AWN NW BR WH NYO KF& DOD OD Oe N DH FF HY NY | O&O

Michael A. McGill SBN: 231613

COLLEGE DISTRICT a municipal
CORE Pol NTA MONICA
LEGE POLICE DEPARTMENT,
an o erating d cpa thereof;
ALBERT UES individually and
as Police Chick
individually and as ORLY
Chief/Ser eant;, SHERYL AGARD,
individually and as Secretary to the’
Chief of Police, JENNIFER JONES
individually and as pectetaty: TARA
CRITTENDEN, individually and as
Dispatcher; and ROES 1-10,

Defendants.

 

 

Ml
Mf

 

 

~ @ase Orb 0v 08921 JAK Document 23 Filed 08/16/11

megill@policeattorney.com “ Cha 3
Carolina Veronica Diaz SBN:263301 \ Si ope
veronic an. oliceattorne yom | sec &
LACKI DAMMEIER & MCGILL APC ae
367 North Second Avenue ree
Upland, CA 91786 ar
Telephone: 5093 985-4003 roa =
Facsimile: 909) 985-3299 Yor
ce
Attorneys for Plaintiff-Petitioner | 9 irs
RUSSEL RUETZ a
UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA
Claim of RUSSELL RUETZ, Case No.: CV11-03921 JAK 9(Ex)
Plaintiff,
SECOND AMENDED
vs. COMPLAINT FOR DAMAGES
SANTA MONICA COMMUNITY

SECOND AMENDED COMPLAINT FOR DAMAGES- 1

Mi

Page 1of21 Page ID #:304

 

quis
 

Oo Oo ND ON FP WY NO

NO NO NO NH NY YN NY NY NO KB KH KF FSF FF FP PF EF FF ES
oN OO ON BR WHO NF OO ONT DO HW BR YW NY KF &

pase eBoy 08921 JAKE ~ Document 23 Filed 08/16/11 Pags 2 of 21 Page ID #:305

 

JURISDICTION & VENUE
1. Jurisdiction is proper because the parties reside in the Los Angeles
region. Venue is proper in the Superior Court of Los Angeles- Central District in

that the wrongs alleged herein occurred within the County of Los Angeles.

PARTIES

2. Plaintiff, RUSSEL RUETZ (hereinafter referred to as “Plaintiff”), is a
United States citizen and resident of the State of California. Plaintiff is a current
employee of the Santa Monica Community College, employed as a police officer.
Plaintiff is a white male. At all times relevant to the allegations contained herein,
Ruetz has been a resident of Los Angeles County. Claimant’s home address is
confidential under Penal Code §§146e and 832.7, and Vehicle Code
§1808.4(a)(11).
3. Defendants, SANTA MONICA COMMUNITY COLLEGE
DISTRICT (hereinafter referred to as “SMC”) , a municipal corporation and
SANTA MONICA COLLEGE POLICE DEPARTMENT (hereinafter referred to
as “Department”), an operating department thereof; is a duly constituted municipal
corporation operating under the laws of the State of California, wholly situated in
the County of Los Angeles.
4. At all times relevant herein for all purposes connected with the
management of employment relations matters within the Department and the
District, the District and Department delegated its final policy-making authority to
Defendants’: Albert Vasquez, Kurt Trump, Sheryl Agard, Jennifer Jones, and Tara
Crittenden (and ROES 1-10). The City adopted and ratified each of these
individuals decisions as alleged herein as its own policies, customs, practices oy
decisions, as if the same had been promulgated directly by the District and the

Department.

SECOND AMENDED COMPLAINT FOR DAMAGES- 2

 

 
 

Oo fe NIN WO UA FP WY NY

NON wo YH NY NY NY NY NY NN FS FF KF FP FF Fe KF KF SS SS
co KD KN NAW KR WN KF OO ODN DH FF W NH FF ©

ea

j|employment.

fase 2:11-cv-03921-JAK-E. Document 23 Filed 08/16/11 Page 3 of 21 Page ID #:306

 

 

)

5. Defendant ALBERT VASQUEZ (“Vasquez”) was at all times
relevant, the Police Chief for the Police Department at SMC. In doing the things
alleged herein, Vasquez acted under color of state law, within the course and scope
of his employment, and as an official policy-maker for the District and
Department. As a Department Head, Vasquez is vested with policy-making

authority over actions such as the ones at issue in this complaint.

6. Defendant KURT TRUMP (“Trump”) was at all times relevant, a
Police Sergeant for the Police Department at SMC. Trump is/was employed as a
Sergeant and previously served as the Acting Chief of Police. In doing the things
alleged herein, Trump acted under color of state law, and within the course and

scope of his employment.

7. Defendant SHERYL AGARD (“Agard”) (also known as “Sasha”) was
at all times relevant, an employee of the Police Department at SMC. Agard is/was
employed as a Secretary to the Chief of Police. In doing the things alleged herein,

Agard acted under color of state law, and within the course and scope of her

8. Defendant JENNIFER JONES (“Jones”) was at all times relevant, an
employee of the Police Department at SMC. Jones is/was employed as a Secretary
to the Chief of Police. In doing the things alleged herein, Jones acted under color

of state law, and within the course and scope of her employment.

9. Defendant TARA CRITTENDEN (“Crittenden”) was at all times
relevant, an employee of the Police Department at SMC. Crittenden is/was
employed as a Dispatcher. In doing the things alleged herein, Crittenden acted

under color of state law, and within the course and scope of her employment.

SECOND AMENDED COMPLAINT FOR DAMAGES- 3

 
 

Oo Oo NY Dn Wn FF WD YN

wo NO NY NY NH NY NY NV NN FF FH FP BP YY YF Ff FF FF SF
oo at ON NH BR DH ND KF OOO OU NSN DN KW FP YH NY FF CO

ase 2:11-cv-03921-JAK-E.. Document 23 Filed 08/16/11 Pags 4of21 Page ID #:307

 

 

/

10. ROES 1 through 10 are unknown at this time, but are or were af
relevant times employees of Defendant. When the true names and capacities of
said persons become known to Plaintiff, Plaintiff will seek leave to amend this
claim to show the true identities of each said ROES in place of their fictitious
names as ROES | through 10.

11. The acts and omissions of the Defendants who are or may be
identified as employees and/or officials of the City, were undertaken in accordance
with and represent the official policies of the city and/or were undertaken by
employees whose acts and omissions may be fairly said to represent the official
policies of the City.

12. Defendants, and each of them, except the Santa Monica College and
Santa Monica College District, which are both entities, are sued in their individual
and official capacities.

13. Unless otherwise indicated, each Defendant conspired, committed,
ordered, directed, supervised, allowed, planned ratified, concealed, organized, or
otherwise participated in one or more of the unlawful acts complained of herein.

14. Plaintiff filed charges with Department of Fair Employment
(“DFEH”) and Housing regarding the discriminatory acts alleged herein on of
about May 21, 2010.

15. The DFEH issued a Notice of Right to Sue on or about May 21, 2010.
A true and correct copy of the Right to Sue Notice(s) are attached hereto at Exhibit
“A”.

RELEVANT FACTS
A. Plaintiff’s Background and Police Officer Association Activity

16.  Atall times relevant, Plaintiff has been a police officer for the Santa

SECOND AMENDED COMPLAINT FOR DAMAGES- 4

 
 

io oe NYT DBD WA SP WD NY

wb NHN NY NY NY N N NY YN YF FP FF FP TF FF H 2s
oS uA BO DKF OCOD eK DH FY NY -

LU. .
tase 2:11-cv-03921-JAK-E., Document 23 Filed 08/16/11 Page 5 of 21 Page ID #:308

J ‘

Monica College District and its Police Department. Plaintiff was hired by the
SMC/Department in June 2005 to the position of police officer. Plaintiff has been a
productive and highly successful member of the Police Department. Plaintiff has
been a valuable asset to both the SMC/Department and the public which he serves.

17. In or around 2008, Plaintiff suggested to the Department and othey
employees of the Department- the start up a union/association for its police
officers. Plaintiff pioneered this endeavor and was ultimately elected as
Parliamentarian for the Santa Monica College Police Officers Association
(“SMCPOA”) in or around 2010.

18. Right around the start- up of the POA, in or about 2008, Plaintiff
decided to exercise his rights under the Peace Officer Bill of Rights (““POBR”) and
therefore requested a representative to be present at a meeting with the Chief of
Police and the Vice President of the District.

19. Shortly after Plaintiff exercised his rights under the POBR, in March
2008, DEFENDANT, SERGEANT KURT TRUMP, stated to Plaintiff that “POBR
is a joke” and that “people who exercise their rights under POBR should be fired”.
TRUMP also stated to Plaintiff that since he had requested a representative for a
meeting, that TRUMP was “going to take this issue to a higher level”. Plaintiff
understood these comments to be harassing and threatening.

20. Thereafter, On March 31, 2008, Plaintiff reported SERGEANT
TRUMP’S actions and comments to the District/Department. After Plaintiffs
report, TRUMP and other DEFENDANTS’ conduct towards Plaintiff worsened.

21. After Plaintiff complained and filed a report of retaliation and
harassment by TRUMP, in mid-April 2008, TRUMP told Plaintiff that he “was no
longer going to be a detective”. On May 1, 2008, Plaintiff was also denied
administrative access to the department computer (Computer Aided Dispatch]

System also known as “CAD”) because, according to Defendants, “[Plaintiff]

SECOND AMENDED COMPLAINT FOR DAMAGES- 5

 

 

 
 

o feo NY DH A HW NO

Ww NN YH NN NNN KS HY &
Pee RRP RR RBR Se DWAR aUDEone Ss

ase 2:11-cv-03921-JAK-E. Document 23 Filed 08/16/11 Pans 6 of 21 Page ID #:309

 

)

couldn’t be trusted”. Previous to this incident, Plaintiff assisted in procuring the
CAD and was assigned to setup the CAD by the prior Chief of Police. Moreover,
after Plaintiff complained to the District/Department, he underwent numerous
arbitrary and retaliatory write-ups, such as verbal counseling memorandums.
22. In 2008, Plaintiff, during a “confidential” department review with al
clinical psychologist who works for Defendants, Manny Tau, Plaintiff was told to
be honest about his feelings about the Department. Plaintiff stated that the
Department had poor management and that Plaintiff had been mistreated,
Plaintiff's review was then leaked to TRUMP. TRUMP told Plaintiff that because
of the department review, Plaintiff “was a problem with the department”.
B. Defendants’ Retaliation for Plaintiff’s Union Activity

23. After Plaintiff's start-up and involvement in union activity, since 2008
and from 2009, 2010 to the present, Defendant TRUMP would constantly harass
Plaintiff and treat him different and apart from other employees. For example,
Plaintiff underwent the following from 2008 through the present:

a. TRUMP would berate Plaintiff with questions, embarrass Plaintiff in
front of others, randomly pull Plaintiff into his office and assign him
odd and embarrassing tasks such as cleaning or organizing;

b. TRUMP told Plaintiff that “[Plaintiff] doesn’t know what he is
doing”, and also make negative references to Plaintiff's “younger”
age, stating that “[Plaintiff] is not capable of doing his job” and that
“(Plaintiff] has no knowledge”;

C. At Department meetings, TRUMP would single Plaintiff out
and treat him different from all other employees. At these
meetings, TRUMP would yell at Plaintiff, in front of other
employees, “to report to [TRUMP’S] office immediately!”

SECOND AMENDED COMPLAINT FOR DAMAGES- 6

 

 
 

0 fo ND WH FP WD NY

mw NMN NY NY NY NY N NY KY FY FSP FPeyr FPopoBYyY as
SP aaa KR BO HF SCO we NIN DH FY NF ©

—

ase OEE W089 INE, Document 23 Filed 08/16/11 PaaS 7 of 21 Page ID #:310

 

 

24. Plaintiff understands TRUMPS actions to be in direct retaliation for
Plaintiff's union start-up and activity and also for Plaintiff's reporting of
TRUMP’S harassment and retaliation.

C. The Gag Order

25. On or around May 3, 2010, the Department and CHIEF VASQUEZ
placed Plaintiff on administrative leave with a gag order whereby Plaintiff could
not contact any member of the Santa Monica College Police Department or any
college employees without permission from VASQUEZ. The gag order was issued
verbally and then memorialized in writing. On that same date, Plaintiff was not
informed of the reasons he was being placed on administrative leave.

26. The gag order hindered Plaintiff, the Parliamentarian of the POA, to
communicate with his fellow board members and other members of the
Association. Plaintiff was estopped from participating in any union activity and
was also estopped from acting as Parliamentarian of the POA. Plaintiff was also
hindered from communicating with his friends, who are members of the Santa
Monica College Police Department and also who are College employees. The gag
order is currently still in place.

27. In or about June, 2010 the Defendants’ issued a complaint against
Plaintiff with Santa Monica Police Department (“SMPD”) so that SMPD would
issue a search warrant for Plaintiffs home. The search warrant was signed by a
magistrate. It is Plaintiff's belief that the Department’s complaint and search
warrant were issued to further harass, retaliate and humiliate Plaintiff.
D. Race Discrimination, Harassment and Retaliation

28. Plaintiff is a Caucasian officer and he works with several African-
American employees, including Defendant Sasha Agard, Defendant Jennifer Jones,

Sergeant Charles Bayes, and Defendant Tara Crittenden. From 2008 to 2010,

SECOND AMENDED COMPLAINT FOR DAMAGES- 7

 
 

~
—_f—-
— ee

Oo Coe ND A FP WO NY

—
nn)

 

ase A NOSIS, Document 23 Filed 08/16/11 Page 8 of 21 Page ID #:31]1

 

Plaintiff has undergone discrimination, harassment and retaliation because of his
Caucasian race from the following persons: Defendant Sasha Agard, Defendant
Jennifer Jones, Sergeant Charles Bayes, and Defendant Tara Crittenden. Some
examples are:
a. In or about 2008 through 2010, an African-American Sergeant,
Charles Bayes, told Plaintiff that he could not come inside the police station
because he wasn’t liked by the African-American employees;

b. In or about 2008 through 2010, an employee of SMC, DEFENDANT
SASHA AGARD, whom is an African American, frequently called/calls
Plaintiff a “blue-eyed white devil”. Agard also uses this term with other
employees of the SMC/Department when referring to Plaintiff;

c. In or about 2008 through 2010, an employee of SMC, DEFENDANT
JENNIFER JONES, stated that Plaintiff was a “quintessential white boy and

~~ ~Thate him’; ~~
d. In or about 2008 through 2010, JONES and AGARD constantly

made/make racial comments and jokes to other employees at the

 

SMC/Department regarding Plaintiff being Caucasian;
e. In or about 2008 through 2010, an employee of SMC, DEFENDANT
TARA CRITTENDEN, would constantly refer to Plaintiff as a “f*cking
cracker”; and “white boy”.
29.
about Plaintiff, an SMC employee, Officer Mike Champagne reported the conduct
to DEFENDANT TRUMP. DEFENDANT TRUMP responded to Officer
Champagne with “[Plaintiff] deserves it”. TRUMP did absolutely nothing when he

After hearing the numerous derogatory and discriminatory comments

was notified that Plaintiff was constantly being harassed and discriminated against

because of his race.

SECOND AMENDED COMPLAINT FOR DAMAGES- 8

 
 

 

Oo fe HN DO AW FP YW NY

NW NO NY YN NY NY N YN NON SP KF FP FF FF FF Se YS
Oo aD A Wn BR WO NY K&— CO ODO eH nN DA FW NY YF C&O

ase 2:11-cv-03921-JAK-E-

 

)

Document 23 Filed 08/16/11 Page 9of 21 Page ID #:312

30. In early 2010, Plaintiff also complained/reported to DEFENDANT
CHIEF VASQUEZ that Plaintiff was being discriminated against and harassed
because of his race. VASQUEZ replied to Plaintiff, “You may be knocking on a
door that you may not want to be knocking on, and that could be bad for your
career”. Plaintiff took this comment as a threat to his career. VASQUEZ failed to
do anything to protect PLAINTIFF from discrimination and harassment.

31. Just a short month after Plaintiff complained of race discrimination,
on March 30, 2010, VASQUEZ placed Plaintiff on “administrative duty”. Plaintiff
was forced to do demeaning tasks not otherwise assigned to police officers, such
as: cleaning, organizing storage containers and other various secretarial and
janitorial duties. Plaintiff was also forced to report to DEFENDANTS AGARD
and JONES, the same employees who had harassed Plaintiff because of his race.

32. Inthe middle of 2010, Plaintiff notified VASQUEZ that he was filing
a lawsuit. VASQUEZ told Plaintiff that “[Plaintiff] was not a proper fit [for
SMC]”.

FIRST CAUSE OF ACTION FOR

FEHA DISCRIMINATION (CAL. GOV. CODE SECTION 12940)

Against Defendant(s) Santa Monica Community College District and Santa
Monica Community College Police Department

33. Plaintiff repeats and re-alleges each and every allegation set forth
above, and incorporates same by reference as though set forth fully herein.
34. Protected Employee: Plaintiff is a protected employee, who is not
supposed to be discriminated against. California Government Code Section
12940(a).
35. Covered Employer. Santa Monica Community College and Santa
Monica Community College Police Department are public entities, and hence are

considered an employer. California Government Code Section 12926(d).
SECOND AMENDED COMPLAINT FOR DAMAGES- 9

 

 
 

di

Oo oe NY DBD vA FP W NY

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ASE 2:11-cv-03921-JAK-E °

 

~Pocument 23 Filed 08/16/11 Page 10 of 21 Page ID #:318

36. Adverse treatment. An employer may not discriminate in
promotions, compensation, terms, conditions, or privileges of employment based
on race and opposition to racial discrimination. Plaintiff was subjected to this
adverse treatment in the form of lack of promotion, counseling, involuntary
administrative penalty, denial of benefits, ostracism, negative evaluations, negative
comment sheets, reassignments, retaliation, and other acts and conduct by
Defendants as further described herein.

37. Discriminatory Intent: There was a causal connection between the
race of Plaintiff and the adverse treatment by Defendants. Plaintiff's race was a
factor in the employer’s decisions and conduct, when viewing the totality of the
circumstances.

38. Discriminatory Intent: There was a causal connection between the
opposition to racial discrimination by Plaintiff and the adverse treatment by,
Defendants. Plaintiffs opposition to Defendants unlawful racial animus levied
against its employees was a factor in the employer’s decisions and conduct, when
viewing the totality of the circumstances.

39. California Government Code section 12940(h) makes it unlawful for
an employer, or person to discriminate against any person because he has opposed
practices forbidden under Section 12940 (discrimination, harassment, ot
retaliation). Moreover, it is illegal to harass an employee under Section 12940()
(1). The employer and individuals who pursue such harassment or retaliation (such
as threatening to take disciplinary action against employees who have filed claims
of discrimination, harassment or retaliation) may be personally liable. California
Government Code Section 12940(j) (3). Defendants retaliated against the Plaintiff
in violation of the law. Plaintiff was subjected to discrimination based on race and
opposition to racial discrimination when Defendants targeted Plaintiff for the
adverse actions and other conduct described herein and for singling out Plaintiff

for such conduct, Udine an ty Lhe AAR Garments; ) initiation of false

complaints; unjustified counseling; unjustified written reprimands; negative and/or

 
 

 

Ci

oOo Oo NIN DN A FSP WY YN

NY NY NY NY NY NY N NY NY FF FF KP FP KF FEF FEF SS YS Se
oN DN A BR WH HO KH CO OHO On Dn FP Ww NY FF O&O

 

bse 2:11-cv-03921-JAK-E “pocument 23 Filed 08/16/11 Page11of21 Page ID #:314

)

i

unfavorable evaluations; ostracism in the workplace; initiating unjustified
disciplinary investigations; initiating and creating negative rumors about Plaintiff's
personal conduct; refusal of supervisors to stop wrongdoing; retaliation for his
complaints of wrongdoing and opposition to harassment; differential and negative
treatment of Plaintiff, and other conducted alleged herein.

40. As a legal result of the above-described conduct of Defendant,
Plaintiff has sustained and will continue to sustain physical, mental, and emotional
injuries, pain, distress, suffering, anguish, fright, nervousness, grief, anxiety,
worry, shame, mortification, injured feelings, mental suffering, shock, humiliation
and indignity, as well as other unpleasant physical, mental, and emotional
reactions, damages to good name, reputation, standing in the community, and other
non-economic damages.

41. Asa further legal result of the above-described conduct of Defendant,
Plaintiff was and will be hindered, prevented, and/or precluded from performing
Plaintiffs usual activities, work, education, and occupation, causing Plaintiff to
sustain damages for loss of income, wages, earning, and earning capacity, and
other economic damages, in an amount to be ascertained according to proof.

42. Asa further legal result of the above-described conduct of Defendant,

Plaintiff
suffered incidental, consequential, and/or special damages according to proof.

43. Asa further legal result of the above-described conduct of Defendant,
Plaintiff has and will continue to incur attorneys’ fees and costs according to proof.

SECOND CAUSE OF ACTION FOR
FEHA RETALIATION (CAL. GOV. CODE SECTION 12940)
Against Defendant(s) Santa Monica Community College District and Santa

Monica Community College Police Department

SECOND AMENDED COMPLAINT FOR DAMAGES. {1

 

 
 

 

Oo fo IN DB A Fe WD NY

NON NO NY NY NY NY NN NY N #S YH KF FP KF YY FF SF |S FS
co oT ON A BP WHO NY KF OO ON DH FP Ww NY FF OS

 

|

ase 2:11-cv-03921-JAK-E.-.Document 23 Filed 08/16/11 Pageyt2 of 21 Page ID #:3165
/

44. Plaintiff repeats and re-alleges each and every allegation set forth
above, and incorporates same by reference as though set forth fully herein.

45. Protected Employee. Plaintiff was a protected employee who
engaged in protected activity: complaining about harassment, discrimination,
and/or retaliation, who was subjected to adverse employment actions for reporting

and/or opposing the misconduct.

46. Employer. Defendants are all “employers” under California
Government Code section 12940(f) which includes governmental agencies and
individuals.

47. Adverse Treatment. Plaintiff was discriminated against in the
manners set out above, and harassed as shown above after opposing discriminatory
practices and/or harassment by Defendants and for notifying a fellow officer of the
existence of a document.

48. Retaliatory Intent. There is a causal link between the Plaintiffs
opposition to discriminatory practice and activity, and the adverse action taken by
the employer.

49. After Plaintiff reported and opposed discrimination, harassment, and
retaliation in the workplace by his employer and its agents, Plaintiff was subjected
to retaliation from his employer (Defendants), as described herein in the form of
discrimination and harassment conduct and actions against Plaintiff.

50. Asa result of Defendants retaliatory conduct, continuous threats, fear
of further retaliation, illegal activity, coupled by SMC’s complete failure to timely
investigate and bring any resolution to this issue, Plaintiff's working conditions
became intolerable.

51. The reprisal actions of Defendants caused Plaintiff to suffer injury,
damage, loss, or harm.

52. Asa legal result of the above-described conduct of Defendants,

SECOND AMENDED COMPLAINT FOR DAMAGES- 12

 

 
 

0 oe NI DH WT FP WY NY

bh we YN NY NY NN NV YN FS fF PF er YF FP KF HK FE Ss
Oo TN AO nA FB YW NY SF OO em DH FF WN FF

ase 2:11-cv-03921-JAK-E “pocument 23 Filed 08/16/11 Pages of 21 Page ID #:31

 

 

in

Plaintiff has sustained and will continue to sustain severe physical, mental, and
emotional injuries, pain, distress, suffering, anguish, fright, nervousness, grief,
anxiety, worry, shame, mortification, injured feelings, mental suffering, shock,
humiliation and indignity, as well as other unpleasant physical, mental, and
emotional reactions, damages to good name, reputation, standing in the
community, and other non-economic damages.
53. As a further legal result of the above-described conduct of
Defendants, Plaintiff was and will be hindered, prevented, and/or precluded from
performing Plaintiffs usual activities, work, education, and occupation, causing
Plaintiff to sustain damages for loss of income, wages, earning, and earning
capacity, and other economic damages, in an amount to be ascertained according to
proof.
54, As a further legal result of the above-described conduct of
Defendants, Plaintiff suffered incidental, consequential, and/or special damages
according to proof.
55. As a further legal result of the above-described conduct of
Defendants, Plaintiff has and will sustain attorneys’ fees and costs in an amount
according to proof.
THIRD CAUSE OF ACTION FOR
FEHA HARASSMENT (CAL. GOV. CODE SECTION 12940)
Against All Defendants
56. PLAINTIFF repeats and re-alleges each and every allegation set forth
above, and
incorporates same by reference as though set forth fully herein.
57, Protected Employee: PLAINTIFF is a protected employee, who is
not supposed to be harassed. Matthews v. Superior Court, (1995) 34 Cal.App.4th
598.

SECOND AMENDED COMPLAINT FOR DAMAGES- 13

 
 

Ck

Oo 6 NN DWN WU FP WO NHN

mo NN NY NY NY NY NY NN FY FP KP EP PF YF FF FF FS YS
oOo NTA A BR BO NO KF OO mem DH KH FF YW NY KF O&O

 

ase 2:11-cv-03921-JAK-E “Pocument 23 Filed 08/16/11 Pageyl4 of 21 Page ID #:31/

58. Covered Employer. DEFENDANTS are all an “employer” for
harassment purposes, as an employer is “any person regularly employing one of
more persons, or any person acting as an agent of an employer...” Gov. Code
section 12940(j)(4)(A). Supervisors, such as the individual defendants herein, may
be held personally liable for harassment. Page v Superior Court (1995) 31
Cal.App.4th 1209, 1212.

59. Harassment on the basis of race. DEFENDANTS and each of them
engaged in unwelcome conduct based on race, including verbal conduct (i.e.
derogatory comments or slurs) as well as insults towards PLAINTIFF by the
conduct noted herein. DEFENDANTS also based employment decisions and other
conduct on PLAINTIFF’s complaints of harassment and opposition to the
harassment. Further acts of harassment include but are not limited to the
following: improper comments of a racial nature; improper comments; initiation of
false complaints; denied work assignments; unjustified counseling; negative and/oy
unfavorable evaluations; ostracism in the workplace; initiating and creating
negative rumors about Plaintiff's personal conduct; subjected to invasions of her
personal property; refusal of supervisors to stop wrongdoing; retaliation for his
complaints of wrongdoing and opposition to harassment; and other conducted
alleged herein.

60. Adverse treatment. An employer may not discriminate in |
compensation, terms conditions or privileges of employment based on race.
PLAINTIFF was subjected to this adverse treatment in the form of job detriments,
demotion/lack of promotion, suspensions and other discipline, denial of benefits,
ostracism, denial of days off, denial of special assignments, negative evaluations,
negative comment sheets, transfers, reassignments, retaliation, and other acts and
conduct by DEFENDANTS as further described herein.

SECOND AMENDED COMPLAINT FOR DAMAGES- 14

 

 
 

oo fe NO AW SP WO YY

Nb NN NY NY NY NY NY NY NN YH Fe FP YF Ff Fe KF hE UL
oN KN AN BR WO NY KF OO FN DH FF YW NY FF O&O

id

 

ase 2:11-cv-03921-JAK-E-.Document 23 Filed 08/16/11 Page15 of 21 Page ID #:31B

/ }

61. Asa legal result of the above-described conduct of DEFENDANT,
PLAINTIFF has sustained and will continue to sustain severe physical, mental, and
emotional injuries, pain, distress, suffering, anguish, fright, nervousness, grief,
anxiety, worry, shame, mortification, injured feelings, mental suffering, shock,
humiliation and indignity, as well as other unpleasant physical, mental, and
emotional reactions, damages to good name, reputation, standing in the
community, and other non-economic damages.

62. As a further legal result of the above-described conduct of
DEFENDANT, PLAINTIFF was required, and/or in the future may be required, to
engage the services of health care providers, and incurred expenses for medicines,
health care appliances, modalities, and/or other related expenses in a sum to be
ascertained according to proof.

63. As a further legal result of the above-described conduct of
DEFENDANT, PLAINTIFF was and will be hindered, prevented, and/or
precluded from performing PLAINTIFF’s usual activities, school work, education,
and occupation, causing PLAINTIFF to sustain damages for loss of income,
wages, earning, and earning capacity, and other economic damages, in an amount
to be ascertained according to proof.

64. As a further legal result of the above-described conduct of
DEFENDANT, PLAINTIFF suffered incidental, consequential, and/or special
damages, in an amount according to proof.

65. As a further legal result of the above-described conduct of
DEFENDANT, PLAINTIFF has and will continue to incur attorneys’ fees and
costs in an amount according to proof.

66. The conduct of DEFENDANTS and each of them was willful,
wanton, oppressive, fraudulent, despicable, and beyond that which should be
tolerated by a civilized society. The acts of DEFENDANTS and each of them

SECOND AMENDED COMPLAINT FOR DAMAGES- 15

 

 
 

Ci

Oo o8 NY DA vn F&F W WN

10
1
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

ase 2:11-cv-03921-JAK-E ypocument 23 Filed 08/16/11 Pagai16of21 Page ID#:31
 )

 

were carried out with a conscious disregard of the likelihood of causing injury,
suffering, or distress to PLAINTIFF and therefore punitive damages in a sum
according to proof, consistent with the net worth of DEFENDANTS and in a sum
sufficient to deter similar such conduct in the future is also sought against all

individual and non-municipal defendants (i.e., not against COUNTY).

FOURTH CAUSE OF ACTION FOR
FEHA FAILURE TO TAKE CORRECTIVE ACTION
(CAL. GOV. CODE SECTION 12940)
Against Defendant(s) Santa Monica Community College District and Santa
Monica Community College Police Department
67. Plaintiff repeats and re-alleges each and every allegation set forth

above, and incorporates same by reference as though set forth fully herein.

68. Plaintiff and another employee reported discrimination, harassment,
and retaliation occurring against Plaintiff to Defendants, who failed to properly
investigate the claims and failed to take proper corrective action to prevent further
acts of discrimination, harassment, or retaliation against Plaintiff.

69. Defendants had an obligation to take corrective action to prevent
further harassment of its employees, but failed to do so in violation of California
Government Code section 12940(k) and other applicable portions of the
Government Code. Defendants failed to conduct proper investigations, implement
proper policies to prevent discrimination, harassment, or retaliation, and failed to
properly punish those who engaged in misconduct to deter further such actions in|
the future.

70. The inactions and/or insufficient actions of Defendants caused

Plaintiff to suffer injury, damage, loss, or harm, as described herein.

SECOND AMENDED COMPLAINT FOR DAMAGES- 16

 
 

oOo fe ND HA Ff WY NY

wh Nw NY NY NY NY N NN NN YF Ff FP FP FP Se FF PP FP eS
Oo QD A WA BB WO NYO KH OD 0 fe N DA FP Ww NY FF O&O

)

«

 

ise 2:11-cv-03921-JAK-E Document 23 Filed 08/16/11 Page 17 of 21 Page ID #:32D

) )

71. As a legal result of the above-described conduct of Defendants,
Plaintiff has sustained and will continue to sustain severe physical, mental, and
emotional injuries, pain, distress, suffering, anguish, fright, nervousness, grief,
anxiety, worry, shame, mortification, injured feelings, mental suffering, shock,
humiliation and indignity, as well as other unpleasant physical, mental, and
emotional reactions, damages to good name, reputation, standing in the
community, and other non-economic damages.

72. As a further legal result of the above-described conduct of
Defendants, Plaintiff was and will be hindered, prevented, and/or precluded from
performing Plaintiff's usual activities, school work, education, and occupation,
causing Plaintiff to sustain damages for loss of income, wages, earning, and
earning capacity, and other economic damages, in an amount to be ascertained
according to proof.

73. As a further legal result of the above-described conduct of
Defendants, Plaintiff suffered incidental, consequential, and/or special damages

according to proof.
74, As a further legal result of the above-described conduct of

Defendants, Plaintiff has and will sustain attorneys’ fees and costs in an amount

according to proof.

75. The aforedescribed acts and omissions of the Defendants were
committed pursuant to and as a part of an official policy, custom and practice
established by the City with purpose and effect of depriving the Plaintiff the
aforesaid civil and constitutional rights on the unlawful bases of race, ethnicity,
expression, association and political affiliation. Asa direct and proximate result of
the official policy and practices of the City as complained of herein, the Plaintifi
has suffered injury.

SECOND AMENDED COMPLAINT FOR DAMAGES- 17

 

 
 

Oo fo NY BDO UA FSF WY NY =

mw NHN N NY NY NY NY NN N YS FF KK FP FF FP SF H FS
oOo a A A Bk BON KF OOD mem DN DH FF YW NY FS

pse 2:11-cv-03921-JAK-E spocument 23 Filed 08/16/11 Page 18 of 21 Page ID #:32

76. As a direct and proximate result of the acts and omissions of the
defendants as aforedescribed the Plaintiff suffered the following injuries,
including, but not limited to: Damages to Plaintiffs career and standing in his
profession; Impeded and foreclosed opportunities for promotion; Emotional
distress; Other tangible injuries associated with the violation of his and

constitutional rights.

FIFTH CAUSE OF ACTION FOR
VIOLATION OF 42 USC 1983, ET.SEQ. [VIOLATION OF PLAINTIFF'S 1°
AMENDMENT RIGHT TO FREE SPEECH AND ASSOCIATION]
Against Defendants Santa Monica Community College District, Santa Monica
Police Department, Kurt Tump and Albert Vasquez
77. Plaintiff hereby incorporates each and every preceding paragraph as
though set forth in full here.
78. In doing the things alleged herein, Defendants, and each of them,
violated the rights of Plaintiff under the First and Fourteenth Amendments to the
United States Constitution for their actions, which are not limited to: retaliation for
Plaintiff's union activity and for their actions of placing a gag order on Plaintiff.
The acts and omissions of Defendants, and each of them, were done by Defendants
under color of state law in their capacity as an entity chartered under state law, and
as policy making authorities to which Defendants delegated its governing powers
in the subject matter areas in which these policies were promulgated or decisions
taken or customs and practices followed.
79. The acts and omissions of Defendants as alleged herein manifested or
conformed to official policies, customs, practices, or decisions of Defendant SMO
in that SMC delegated to Defendants TRUMP and VASQUEZ its policy making
authority in all matters of employment relations within the police department,

and/or SMC, with knowledge of the afore said policies, customs, practices and

SECOND AMENDED COMPLAINT FOR DAMAGES- 18

 

 

 
 

0 oN DH UU fF WY LY

w NHN NY KY WYN N YN SF FP YP SP FP ESE DpH. Ss
BS Raa FF BbvHeKF So me AN DH FW NF ©

fase 2:11-cv-03921-JAK-E.. Document 23 Filed 08/16/11 pags 19 0f 21 Page ID#:34

 

decisions of Defendants TRUMP and VASQUEZ, approved, ratified and adopted
said policies, customs, practices and decisions. Specifically, Defendants TRUMP
and VASQUEZ, at all times relevant to the allegations herein, maintained final
policy making authority with respect to the adverse employment actions and the
gag order against Plaintiff. It was or should have been plainly obvious to any
reasonable policy making official of Defendant SMC that the acts and omissions of
Defendants as alleged herein, taking singly or in conjunction, directly violated and
continue to violate Plaintiffs clearly established constitutional and statutory rights.

80. In doing the things alleged herein, Defendants acted with malicious
intent to violate Plaintiff's rights, or at least in conscious, reckless, and callous
disregard of Plaintiff's rights and to the injurious consequences likely to result from
a violation of said rights. General, special, and exemplary damages are sought
according to proof. Punitive damages are sought only against Defendants TRUMP
and VASQUEZ according to proof. Injunctive relief is sought to command
Defendants to refrain from any further retaliatory action against Plaintiff.

81. Plaintiff has suffered mental anguish, humiliation and emotional
distress as a consequence of Defendants’ conduct and economic damages

according to proof at trial.

PRAYER
WHEREFORE, Plaintiff prays:

For general, special, exemplary damages according to proof;

For punitive damages;

1

2

3. For injunctive relief;

4 For back pay and front pay (wages, salary and benefits);
5

For compensatory damages (future loss, emotional distress, pain and
suffering, inconvenience, mental anguish and loss of enjoyment of
life);

SECOND AMENDED COMPLAINT FOR DAMAGES- 19

 

 
 

io fo NY DH WA FP W NY

mw wMN NY NY NY NK NY NY FSF FSF FSF SF SY EF

“dase 2:11-cv-03921-JAK-E Document 23 Filed 08/16/11 Page 20 of 21 Page ID #:32

For costs of suit;

 

7. For attorneys fees under 42 USC §1988 and otherwise as permitted by
law; and
8. For other appropriate relief.
Dated: August 15, 2011 LACKIE, DAMMEIER & MCGILL APC
BY:
Michael A. McGill
Carolina Veronica Diaz
Attorneys for PLAINTIFF
RUSSEL RUETZ

SECOND AMENDED COMPLAINT FOR DAMAGES- 20

 

 

 
 

‘ 4 Cc
ad

—_—

ase 2:11-cv-03921-JAK-E Document 23 Filed 08/16/11 Pa98 21of 21 Page ID #:32
J

PROOF OF SERVICE

_ I declare that I am over the age of eighteen (18) and not a pat to this
action. My business address is 367 North Second Ave., Upland, California

On August 16, 2011, I served the following document described as
SECOND AMENDED COMPLAINT FOR DAMAGES on the interested
parties in this action by placing a true and correct copy of each document thereof,
enclosed in a sealed envelope addressed as follows:

4

 

 

0 Oo YU DH WA BF WwW WN

1
11
1
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27

oO

NO

28

 

 

Attorneys’ for Santa Monica
Communi College District, Albert
Vasquez, Sheryl Agard, Jennifer Jones
and Tara Crittenden

Louis R. Dumont, Esq.

Jill W. Babington, Esq.
CARPENTER, ROTHANS &
DUMONT

888 S. Figueroa Street, Suite 1960
Los Angeles, CA 90017

Phone (313) 228-0400

Fax (213) 228-0401

 

 

 

[ ] lam readily familiar with the business practice for collection and
processing of correspondence for mailing with the United States Postal
Service. I know that the correspondence was deposited with the United
States Postal Service on the same day this declaration was executed in
the ordinary course of business. I know that the envelope was sealed
and, with postage thereon fully prepaid, placed for collection and
mailing on this date in the United States mail at Upland, California.

[ ] By Personal Service, I caused such envelope to be delivered by hand to
the above addressee(s).

[X] By Overnight Courier, I caused the above referenced document(s) to be
delivered To an overnight courier (UPS) for delivery to the above
addressee(s).

Executed on August 16, 2011, at Upland, California.

I declare that I am employed in the office of a membe e bar of this

AYE JUAREZ

PROOF OF SERVICE -1

court at whose direction the service was made.

 

 
